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ORIGINAL

IN THE UNITED STATES DISTRICT COURT |
-FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

PAYTON SIMS,

Plaintiff,
Case No. 03 C 8291
v.
Judge Gottschall
SGT. R. WATTS, P.O. B. BOLTON, P.O. A.
JONES, P.O. K. YOUNG, and the CITY OF | Magistrate Judge Bobrick
-. CHICAGO, .

 

Defendant(s)

 

_ CERTIFICATE OF SERVICE

The undersigned, being first duly sworn on oath, states that on June 4, 2004, I served
Plaintiff's Second Amended Complaint by tendering same via U.S. Mail, by depositing same at a
U.S. Mail Box located at 155 North Michigan, Chicago, Illinois on or before 5:00 PM, addressed
to: co

Arnold Park, Esq,
Asst. Corporation Counsel
CITY OF CHICAGO

30 N. LaSalle, Suite 900
Chicago, Illinois 60602

    
 

 

LAW OFFICES OF BLAKE HORWITZ
Blake Horwitz, Esq.

Patrick A. Casey, Esq.

Amanda S. Yarusso, Esq.

155 N, Michigan, #714

Chicago, IL 60601

(312) 616-4433
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CHICAGO, | DO
Defendant(s) Gu % cet aa

 

 

SECOND AMENDED COMPLAIN TAT LAW

NOW COMES the Plaintiff, PAYTON SIMS, by and through his attorney, LAW
OFFICES OF BLAKE HORWIT Z, and for his Complaint at Law, against the Defendants, SGT.
R. WATTS, P.O. B. BOLTON, P.O. A. JONES, and P.O. K. YOUNG, (hereinafter
“DEFENDANT OFFICERS”) and THE CITY OF CHICAGO, states as follows:

| | JURISDICTION

1. The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42
U.S.C. §1981 and §1983; the Judicial Code, 28 U.S.C. §1331 and 1343(a); the Constitution of
the United States; and supplementary jurisdiction, as codified in 28 U.S.C. §1367(a).

PARTIES

2. Plaintiff, PAYTON SIMS is a resident of the County of Cook and State of Iilinois,
and a citizen of the United States, |
3. DEFENDANT OFFICERS at all times relevant to this complaint, duly appointed

and sworn police officers. They engaged in the conduct complained of in the course and scope of

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their employment and while they were on duty. They are sued in their official and individual
capacities. The aforementioned police officers followed the customs and practices of the City of
Chicago, in connection with the allegations of this complaint.

4. The City of Chicago is a duly incorporated municipal corporation and is the
employer and principal of the Defendant Police Officers. At all times material to this complaint,
the DEFENDANT OFFICERS were acting under color of state law, ordinance and/or regulation,
statutes, customs and usages of the Chicago Police Department.

FACTS

5. On or about the morning of August 19, 2003, the Plaintiff was working in his
barber shop at 618 East 47 Street. On that date, Plaintiff discovered that an unmarked squad car
had driven into the side of the building, which he owns.

6. Plaintiff proceeded to cal! 911 on his phone because the officers appeared to be
injured, |

7. Other officers appeared on the scene and these officers (the Defendant Officers)
handouffed and arrested the Plaintiff.

8. The Plaintiff remained handcuffed in a squad car without probable cause and or
reasonable suspicion and/or lawful justification. Plaintiff never, prior to this conduct, provoked
said officers, threatened said officers and/or conducted himself in a manner, which would
necessitate handcuffing and custody in a squad car by Defendant Officers.

9. Plaintiff's handcuffs were secured too ti ghtly onto his wrists. The Defendant
Officer(s) refused to adjust the handcuffs and kept the Plaintiff in custody.

10. The use of force initiated and continued by the Defendant Officers onto the

Plaintiff was excessive, unreasonable and unnecessary in order to accomplish any task
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undertaken by the Defendant Officers. They, willfully and with utter disregard for the rights and
safety of the Plaintiff, injured the Plaintiff

11. Asadirect and proximate result of one or more of the aforesaid acts or omissions
of the defendants, Plaintiff was caused to suffer serious and permanent personal injury pain,
suffering and mental anguish both now and in the future.

COUNT I
(81983 Excessive Use of Force)

12. _— Plaintiff re-alleges paragraphs 2 through 11 as though fully set forth herein.

13. The actions of the Defendant Officers amounted to an excessive and unjustifiable
used of force against the Plaintiff, as well as failing to prevent said abuse, despite having the
opportunity to do so. This use of force violated the Plaintiff Fourth Amendment right to be free
from unreasonable arrest and seizure.

14, The aforementioned actions of the Defendants were the direct and proximate
| _ cause of the constitutional violations set forth above.

WHEREFORE, Plaintiff demands compensatory damages, jointly and severally against
- the Defendant Officers. Plaintiff also demands punitive damages, costs and attorney's fees

: against said Defendants. Plaintiff also demands whatever additional relief this Court deems
equitable and just.

COUNT II
(81983 False Arrest)

15. — Plaintiff re-aileges paragraphs 2 through 11 as though fully set forth herein.
16. The Defendant Officers arrested Plaintiff without probable cause to believe that
Plaintiff had committed criminal activity. The Defendant Officers’ conduct was in violation of

the Fourth Amendment to the United States Constitution.
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17, The aforementioned actions of the Defendant Officers were the direct and
proximate cause of the Constitutional violations set forth above.

WHEREFORE, Plaintiff demands compensatory damages against the Defendant Officers,
punitive damages, costs and attorney's fees. Plaintiff also demands whatever additional relief this
Court deems equitable and just.

COUNT III
(Supplementary Claim - Assault and Battery)

18. Plaintiff re-alleges paragraphs 2 through 11 as though fully set forth herein.

19. The acts of Defendant Officers were affirmative acts intended to cause a contact
of a harmful and/or offensive nature and to which Plaintiff did not consent, and thus constitute
assault and battery under the laws and constitution of the State of Illinois. Further, such acts
directly and proximately caused Plaintiff injuries, pain and suffering as alleged above

WHEREFORE, Plaintiff demands compensatory damages, jointly and severally, against
the Defendant Officers. Plaintiff also demands punitive damages and costs and whatever
additional relief this Court deems equitable and just.

. COUNT IV
(False Arrest — State Claim)

20. Plaintiff re-alleges paragraphs 2 through 11 as though fully set forth herein.

21. The Defendant Officers arrested Plaintiff without probable cause to believe that .
Plaintiff had committed criminal activity. The Defendant Officers’ conduct was in violation of
the laws of the state of Illinois.

22. The aforementioned actions of the Defendant Officers were the direct and

proximate cause of the violations set forth above.
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WHEREFORE, Plaintiff demands compensatory damages against the Defendant Officers,
punitive damages and costs. Plaintiff also demands whatever additional relief this Court deems

equitable and just.

COUNT V
(745 ILCS 10/9-102 Claim Against City of Chicago)

23, Plaintiff re-alleges paragraphs 2 through 22 as though fully set forth herein.
24. Defendant City of Chicago is the employer of Defendant Officers.

25. Defendant Officers committed the acts alleged above under color of law and in the
| , :

scope of their employment as employees of the City of Chicago.

WHEREFORE, should the Defendant Officers be found liable for the acts
alleged in paragraph 2 trough 25 above, Plaintiff demands that, pursuant to 745
ILCS 10/9-102, the City of Chicago pay them any judgment they obtain against
Defendant Officers as a result of this complaint.

| COUNT VI
MONELL CLAIM AGAINST THE CITY OF CHICAGO
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26. The Plaintiff re-alleges paragraphs 2 through 25 as though fully set forth herein.

27. Itis the custom, ti and policy of police officers and/or there supervisors/agents
and/or other employees of ti City of Chicago to perform the following acts and/or omissions in
connection with excessive ope complaints that are directed at Chicago police officers:

a. Supervisory individuals from the City of Chicago fail to properly discipline
City of ote police officers that have committed an act of excessive force
upon anot

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b. Supervisory individuals from the City of Chicago fail to properly investigate a
complaint of excessive force perpetrated by a City of Chicago Police Officer,
upon anoth ;
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c. Supervisory individuals from the City of Chicago fail to take proper remedial
action against a City of Chicago Police officer once it is determined that
he/she has committed an act of excessive force upon another.

28. As a result of the misconduct undertaken by the City of Chicago, through it
employees, the Plaintiff suffered serious injuries, as the custom, practice and policy of the City of
Chicago permits and/or makes conducive to City of Chicago police officers, the type of conduct
that occurred in the instant cause, as alleged in this complaint.

WHEREFORE, Plaintiff demands judgment against the City of Chicago, plus attorney's

fees and costs. Plaintiff also demands whatever additional relief this Court deems equitable and

just.

Plaintiff demands trial by jury on all counts.

Respectfully Submitted.

Barro

Attomey for the Plaintiff
Blake Horwitz

 

LAW OFFICES OF BLAKE HORWITZ
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